 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 1 of 12 Page ID #:283
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 1                                UNITED STATES DISTRICT COURT

 2                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 3                    HONORABLE ALEXANDER MACKINNON, U.S. MAGISTRATE JUDGE

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 5
            UNITED STATES OF AMERICA,     )
 6                                        )
                     Plaintiff,           )
 7                                        )
                          vs.             )
 8                                        )       2:19-MJ-994
            MOSSIMO GIANNULLI,            )
 9                                        )
                     Defendant.           )
10          _____________________________ )
                                          )
11                                        )
                                          )
12

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15                         REPORTER'S TRANSCRIPT OF PROCEEDINGS

16                                Los Angeles, California

17                                 Tuesday March 12, 2019

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                           ___________________________________
20
                                  AMY DIAZ, RPR, CRR, FCRR
21                               Federal Official Reporter
                                 350 West 1st Street, #4455
22                                  Los Angeles, CA 90012

23

24            Please order court transcripts here:    www.amydiazfedreporter.com

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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 2 of 12 Page ID #:284
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 1          APPEARANCES OF COUNSEL:

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            For the Plaintiff:
 3

 4                          United States Attorney
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 5                               Assistant United States Attorney
                            United States Courthouse
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 8
            For the Defendant:
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11                          Los Angeles, California 90017

12                               PERRY VISCOUNTY, Attorney at Law
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13                          650 Town Center Drive, 20th Floor
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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 3 of 12 Page ID #:285
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 1                    THE CLERK:    Calling case number 19-00994M United

 2          States of America vs. Mossimo Giannulli.

 3                    Counsel, please make your appearances.

 4                    MR. WYMAN: Good afternoon again, Your Honor.            Alex

 5          Wyman on behalf of the United States.

 6                    MR. HARRIS: Yes, Your Honor.       Apologize.    Marc

 7          Harris on behalf of the defendant.        Also with me is Perry

 8          Viscounty, also representing the defendant.

 9                    THE COURT:    Good afternoon.

10                    MR. VISCOUNTY: Good afternoon, Your Honor.

11                    THE COURT:    Good afternoon, sir.

12                    Sir, is your name Mossimo Giannulli?

13                    THE DEFENDANT: Yes, sir.

14                    THE COURT:    Is it correct that you have retained

15          counsel in this matter, Mr. Harris and Mr. Viscounty?

16                    THE DEFENDANT: That's correct.

17                    THE COURT:    Thank you.    Is it also correct that you

18          signed an advisement of your statutory constitutional rights?

19                    THE DEFENDANT: That's correct.

20                    THE COURT:    Before you signed this document, did you

21          read and understand the rights that are in the document?

22                    THE DEFENDANT: I did and do, yes.

23                    THE COURT:    Okay.   Thank you.

24                    Have you read the Complaint and Affidavit in this

25          case?




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 4 of 12 Page ID #:286
                                                                       4



 1                    THE DEFENDANT: I have.

 2                    THE COURT:    I'm not asking you at this time to admit

 3          or deny the charges that are in those documents, but you

 4          understand what it is the government claims that you did?

 5                    THE DEFENDANT: I do.

 6                    THE COURT:    Thank you.

 7                    It's my understanding with regard to this case there

 8          is a disagreement over the terms of release; is that correct?

 9                    MR. WYMAN: Your Honor, I think we have resolved the

10          disagreement.

11                    THE COURT:    Okay.

12                    MR. WYMAN: The parties are in agreement that there

13          should be a $1 million secured bond.        Although again, we have

14          not discussed the -- which specific property it should be

15          secured by.     Although the government again would be fine with

16          the property listed as his primary residence in the Pretrial

17          Services report.

18                    MR. HARRIS: On that matter, I ask if we could not

19          state that address in open court, and for reasons I can

20          describe to the Court, if necessary, but we do agree that

21          that is the proper address, and we are willing to post that

22          as security.

23                    THE COURT:    I won't read that here on the record,

24          but it will be noted on the bond form.        That is usually --

25          the bond forms, are they under seal typically?




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 5 of 12 Page ID #:287
                                                                       5



 1                     MR. WYMAN: I believe they are, Your Honor.

 2                     THE CLERK:   No, sir.

 3                     MR. WYMAN: I believe they are redacted typically.

 4                     THE COURT:   We will seek to protect that address.

 5                     MR. HARRIS: Thank you, Your Honor.

 6                     THE COURT:   And what's the ownership of that

 7          property?

 8                     THE DEFENDANT: Family trust.

 9                     THE COURT:   And who are the trustees?

10                     MR. HARRIS: The defendant and his wife, who is also

11          a defendant in the matter, Your Honor.

12                     THE COURT:   That's right.     Okay.

13                     So the Court -- I'll just have this bond signed by

14          the defendant with the full deeding of the property

15          obligation.

16                     What is the length of time we are going to need for

17          that deeding?

18                     MR. HARRIS: I think the date of the 29th that the

19          Court gave in the previous matter would work for us, as well.

20                     THE COURT:   Okay.   So the Court finds that there are

21          a set of conditions that will reasonably assure the

22          appearance of the defendant at future court proceedings and

23          the safety of the community; and therefore, sets bond as

24          follows:

25                     First of all, the defendant will be released today




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 6 of 12 Page ID #:288
                                                                       6



 1          upon signing of the bond.      It will be a $1 million appearance

 2          bond with full deeding of property.        And the property that

 3          will be securing the bond is the defendant's home address

 4          that is identified in the Pretrial Services report.

 5                    In addition to the standard conditions of release on

 6          the bond form, the following additional conditions of release

 7          are also imposed:

 8                    The defendant is subject to supervision by Pretrial

 9          Services as directed by Pretrial Services.

10                    My understanding is the defendant's passport was

11          already surrendered today?

12                    MR. HARRIS: Yes, Your Honor.

13                    THE COURT:    The defendant shall sign a declaration

14          regarding passport and other travel documents and submit that

15          today.

16                    MR. HARRIS: That has been signed, yes.

17                    THE COURT:    Thank you.

18                    And the defendant shall not apply for a passport or

19          other travel document during the pendency of this case.

20                    Travel by the defendant is restricted to the

21          continental United States unless prior permission is granted

22          by Pretrial Services to travel to a specific other location

23          within the United States.      And court permission will be

24          required before there be any international travel by the

25          defendant.




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 7 of 12 Page ID #:289
                                                                       7



 1                    The defendant shall reside as approved by Pretrial

 2          Services and not relocate without prior permission of

 3          Pretrial Services.

 4                    Let me ask, with regard to employment, I couldn't

 5          really tell, the defendant is employed currently; is that

 6          right?

 7                    MR. HARRIS: He is.

 8                    THE COURT:    So the defendant shall maintain his

 9          current employment and provide proof of such to Pretrial

10          Services.    If he were to change his job, he would require

11          approval of Pretrial Services.

12                    The defendant shall avoid all contact, directly or

13          indirectly, including by any electronic means, by any person

14          who is a known victim or witness in the subject investigation

15          or prosecution.     And he shall avoid all contact, directly or

16          indirectly, including by any electronic means, with any known

17          codefendant, except in the presence of counsel.

18                    As an exception to this, the defendant may have

19          contact with his wife, who is also a codefendant in the

20          matter.

21                    And these two -- these last two provisions will

22          apply both to the Complaint and the Indictment relating to

23          this investigation.

24                    MR. HARRIS: Yes, Your Honor.

25                    THE COURT:    Okay.   And those are the conditions that




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 8 of 12 Page ID #:290
                                                                       8



 1          the Court will impose.

 2                    MR. WYMAN: Your Honor, I apologize, I may have

 3          missed the travel restriction.

 4                    THE COURT:    I did limited to continental United

 5          States.

 6                    MR. WYMAN: Thank you, Your Honor.

 7                    THE COURT:    Sir, as I mentioned at the beginning of

 8          these proceedings, there are serious consequences if you fail

 9          to abide by any of these conditions or fail to appear at

10          future court proceedings.

11                    As I indicated to the last defendant, you are

12          deeding property.      If you were to violate your conditions of

13          release or not show up for future proceedings, the bond could

14          be forfeited and the government could foreclose on your

15          residence.

16                    In light of these, and there is other serious

17          consequences that I mentioned, as well, but in light of these

18          potential consequences, do you agree to abide by all of the

19          conditions of your release?

20                    THE DEFENDANT: I do.

21                    THE COURT:    Thank you.

22                    MR. HARRIS: For the record, put one thing on the

23          record, if I may? And that is that we agree to the conditions

24          with the government, not withstanding the issues that the

25          Court has raised about it being somewhat excessive given the




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 Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 9 of 12 Page ID #:291
                                                                       9



 1          case, on the condition that the government would agree to

 2          similar conditions for the defendant's wife, and also allow

 3          the defendant's wife to travel internationally for work.

 4          That is going to be the government's recommendation,

 5          understanding that the Court may not agree with that when we

 6          are before the Court on that matter, but that is the basis

 7          for our agreement to this substantial bond.

 8                    THE COURT:    And in all likelihood, it will be a

 9          different magistrate judge, so...

10                    MR. HARRIS: Understood, Your Honor.

11                    THE COURT:    Is the representation correct?

12                    MR. WYMAN: It is.     It's a little bit narrower.          We

13          agreed to allow her to travel to Vancouver and back; not

14          internationally at large.

15                    MR. HARRIS: Yes, Your Honor.        Thank you.

16                    THE COURT:    Thank you.    Okay.

17                    MR. HARRIS: Yes, Your Honor.

18                    THE COURT:    The Court's also received a signed

19          waiver of rights regarding out-of-district cases.

20                    Sir, did you sign this document?

21                    THE DEFENDANT: I did.

22                    THE COURT:    Okay.   And did you understand that by

23          signing this document, you are waiving your right to have an

24          identity hearing here in this district?

25                    THE DEFENDANT: I do.




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Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 10 of 12 Page ID #:292
                                                                       10



 1                    THE COURT:    So --

 2                    MR. HARRIS: The defendant is also prepared to waive

 3         arrival of process, as well.

 4                    THE COURT:    He's not seeking a preliminary hearing

 5         in this district, is he?

 6                    MR. HARRIS: Not in this district.        As far as we know

 7         there has not been an indictment returned and he does want to

 8         assert his rights to a preliminary hearing.

 9                    THE COURT:    I think there we want to check off

10         arrival of process and check the bottom box, too, I think.

11                    MR. HARRIS: May I approach?

12                    THE COURT:    Sure.

13                    Okay.   Sir, do you understand that by signing this

14         document, you are waiving your right to an identity hearing,

15         arrival of process, you are requesting a preliminary hearing

16         in the charging district, which is the District of

17         Massachusetts?

18                    THE DEFENDANT: I do.

19                    THE COURT:    Thank you.    Have you had an opportunity

20         to talk with your counsel about these rights and the

21         consequences of waiving them?

22                    THE DEFENDANT: I have.

23                    THE COURT:    Is it your desire to give up those

24         rights at this time?

25                    THE DEFENDANT: Yes, sir.




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Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 11 of 12 Page ID #:293
                                                                       11



 1                    THE COURT:    Does the defendant's counsel concur?

 2                    MR. HARRIS: I do.

 3                    THE COURT:    The Court accepts the waiver as knowing

 4         and voluntary.

 5                    What is the time and date of the appearance for this

 6         defendant in Boston?

 7                    MR. WYMAN: March 29th at 2:30 PM.

 8                    THE COURT:    Okay.   Sir, you are ordered to appear at

 9         that time and date in Boston at the Federal Courthouse.               I

10         gave the address at the beginning of these proceedings.               You

11         are ordered to be there at that time and place, okay?

12                    THE DEFENDANT: Yes, sir.

13                    THE COURT:    Anything further?

14                    MR. WYMAN: No, Your Honor.

15                    MR. HARRIS: No, Your Honor.       Thank you.

16                    THE COURT:    Thank you.

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Case 2:19-mj-00994-DUTY Document 16 Filed 04/16/19 Page 12 of 12 Page ID #:294
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 2         I certify that the foregoing is a correct transcript from the

 3         record of proceedings in the above-titled matter.

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 8

 9         Amy C. Diaz, RPR, CRR                   March 26, 2019

10         S/   Amy Diaz

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